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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION



GAVIN/SOLMONESE, LLC,
                                              No. 16-CV-1086
                     Plaintiff,
                                              Judge John R. Blakey
       v.

STEPHEN L. KUNKEL,

                     Defendant.

              PLAINTIFF GAVIN/SOLMONESE, LLC’S OPPOSITION TO
             DEFENDANT STEPHEN L. KUNKEL’S MOTION TO STRIKE




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                                             INTRODUCTION

        Defendant’s Motion to Strike the Declaration of Ross Waetzman and the Declaration of

Ted Gavin1 should be denied because he fails to meet his burden under the Sham Affidavit

Doctrine. Defendant fails to prove that the challenged statement from the Waetzman Declaration

contradicts his deposition testimony. In fact, the Waetzman Declaration statement that Steve

Kunkel did not inform him or Gavin/Solmonese of his position on the Tamarack Board is

consistent with Waetzman’s deposition testimony.

        Likewise, Defendant’s arguments regarding the Gavin Declaration fails for two reasons.

First, Defendant fails to establish that paragraph 15 of the Gavin Declaration contradicts previous

deposition testimony regarding the allegations Gavin was aware of in December 2014. Second,

Defendant’s allegation that paragraphs 15-18 of the Gavin Declaration create “false impressions”

regarding the timeline of events is not true, and even if true, still falls below the standard for

striking portions of a declaration under the Sham Affidavit Doctrine.

        Though baseless, all of Defendant’s arguments were better suited for his Summary

Judgment Reply Brief and are not the basis for a motion to strike. Defendant has failed to meet

his burden, and his Motion to Strike should be denied.

                                       STATEMENT OF FACTS
Declaration of Ross Waetzman

        On August 1, 2018, Plaintiff submitted the Declaration of Ross Waetzman (“Waetzman

Declaration”) in support of Plaintiff’s Opposition to Defendant’s Motion for Summary Judgment.

ECF No. 109. Defendant asked the Court to strike paragraph 6 from Waetzman Declaration:

              6. Kunkel did not disclose that he was a Board Member of the Tamarack Board.

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  Defendant’s Motion to Strike asserts that both specific sections of the Waetzman and Gavin Declarations should be
stricken, and the Declarations as a whole. However, Defendant must articulate specific arguments for each
paragraph he asserts should be stricken. Arce v. Chicago Transit Authority, 311 F.R.D. 504, 512 (N.D. Il. 2015). It
is improper to strike an entire declaration because a few paragraphs could potentially be improper. Id.
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ECF No. 109, ¶ 6.

           During his May 25, 2017 deposition, Ross Waetzman (“Waetzman”) testified that he “was

not aware that [Kunkel] sat on a board nor did [Kunkel] ever tell him he sat on a board.” ECF No.

110-4 at 1520 (Waetzman Dep. Tr. at 99). Waetzman was not involved in the process of hiring

Steve Kunkel (“Kunkel”) (ECF No. 110-4 at 1518 (Waetzman Dep. Tr.2 at 89)), when information

regarding board members may have traditionally been disclosed. Waetzman testified that although

he now knows that Kunkel was on Tamarack’s board, that was not a fact he was aware of in

2014/2015. Id. at 1518-19 (Waetzman Dep. Tr. at 89-94). Waetzman was aware that Kunkel was

doing work for Tamarack, including taking trips and having phone calls, but Waetzman did not

know Kunkel’s relationship with Tamarack. Id. at 1518 (Waetzman Dep. Tr. at 90). At the time

Waetzman did not “know that [Kunkel] was working at Tamarack as a board member. I just know

that he was on a call -- a board call. He could have been an advisor to. I don’t know in what

capacity he was employed by Tamarack.” Id. at 1519 (Waetzman Dep. Tr. at 94).

Declaration of Ted Gavin
           On August 1, 2018, Plaintiff submitted the Declaration of Ted Gavin (“Gavin Declaration”)

in Support of Plaintiff’s Opposition to Defendant’s Motion for Summary Judgment. ECF No. 108.

Defendant asked the Court to strike four paragraphs from Gavin’s Declaration:

                15. In late December 2014, G/S learned of allegations that Kunkel had sexually

                    harassed and spanked young male subordinates at Soo Tractor.

                16. When confronted with allegations that Kunkel had sexually harassed and spanked

                    young male subordinates at Soo Tractor, Kunkel denied these allegations.

                17. Shortly after Kunkel denied these allegations of sexual harassment and spanking,

                    G/S’s counsel received a recording that Alex Peterson (“Peterson”), one of

                    Kunkel’s victims, had made of one of the incidents. G/S’s counsel informed me of

                    this recording.


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    The Waetzman Deposition does not have line numbers after page 31 and page numbers will be cited to generally.
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            18. On the morning of January 28, 2015, before receiving a letter from Soo Tractor

                terminating G/S’s services, I sent Mahaney an email informing him of the

                allegations regarding Kunkel.

ECF No. 108 ¶¶ 15-18.

       During his February 24, 2018 deposition, McMichael Mierau (“Mierau”) testified that

during a September 2014 car trip with Joey Perera (“Perera”), Perera told him that Kunkel also

spanked him (Perera). ECF No. 110-5 at 1619-20 (Mierau Dep. Tr. at 56:10-57:6). Later, on or

about December 20, 2014, Mierau contacted Waetzman and gave him the “whole story.” Id. at
1642 (Mierau Dep. Tr. at 147:5-7). Mierau testified that he provided details to Waetzman and

“kind of told him basically everything that had been going on that -- that, you know, was kind of

kept behind closed doors.” Id. (Mierau Dep. Tr. at 147:12-16). Gavin learned of Mierau’s

allegations, and all of the details he presented to Waetzman, around December 20, 2014, when

Waetzman contacted him regarding the allegations against Kunkel. ECF No. 110-3 at 1431 (Gavin

Dep. Tr. at 91:8-11).

       In Gavin’s June 21, 2017 deposition, he testified that when confronted with the allegations,

Kunkel repeatedly told counsel that “Mierau had fabricated his allegations.” ECF No. 110-3 at

1431 (Gavin Dep. Tr. at 92:7-14).

                                          ARGUMENT
       The “sham” doctrine “must be applied with caution.” Flannery v. Recording Industry

Ass’n of America, 354 F.3d 632, 638 (7th Cir. 2004). There is a distinction between “discrepancies

which create transparent shams and discrepancies which create an issue of credibility or go to the

weight of the evidence. . . . Credibility and weight are issues of fact for the jury, and we must be

careful not to usurp the jury’s role.” Id. (internal citations omitted). “Only when the changed

testimony is ‘incredible and unexplained’ may courts disregard the affidavit, because when the

change is ‘plausible’ and ‘the party offers a suitable explanation’ . . . the fact of contradiction

‘affects only [the testimony’s] credibility, not its admissibility.’”    Arce v. Chicago Transit

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Authority, 311 F.R.D. 504, 510 (N.D. Ill. 2015 (quoting McCann v. Iroquois Mem’l Hosp., 622

F.3d 745, 751 (7th Cir. 2010)).

           An affidavit is only considered a “sham” where the “contradictions [are] so clear that the

only reasonable inference was that the affidavit was a sham designed to thwart the purposes of

summary judgment.” Castro v. DeVry University, Inc., 786 F.3d 559, 571 (7th Cir. 2015). “A

‘contradiction,’ which only exists when the statements are ‘inherently inconsistent,’ not when the

later statement merely clarifies an earlier statement.” Flannery, 354 F.3d at 638. For a subsequent

affidavit to be considered a “sham,” the witness must have been given the opportunity to give
“clear answers to unambiguous questions.” Castro, 786 F.3d at 572 (internal citations omitted).

           Defendant has failed to meet his burden of proving that any portions of the Waetzman or

Gavin Declarations are shams. His motion should be denied.

I.         THE WAETZMAN DECLARATION IS CONSISTENT WITH HIS DEPOSITION
           TESTIMONY.
           Paragraph 6 of the Waetzman Declaration is consistent with Waetzman’s deposition

testimony. Defendant argues that paragraph 6— which states that “Kunkel did not disclose that

he was a Board Member of the Tamarack Board,” (ECF No. 109, ¶ 6)—is contradicted by

Waetzman’s deposition testimony:

           The only board I’m aware of that he was on was Tamarack. And he asked me -- he
           said that I would help him with that kind of work, that that’s something we could
           do together. And then later on he indicated that he was just doing that work on his
           own. And he started asking people at Radius to help him with that work.
ECF No. 110-4 at 1518 (Waetzman Dep. Tr. at 89); Def.’s Br.3 at 7.

           But Defendant has both taken Waetzman’s testimony out of context and omitted testimony.

First, it is clear from earlier deposition testimony that the testimony Defendant cites to was

Waetzman referencing what he now knows about Kunkel’s work with Tamarack. In the same line

of questioning, Waetzman prefixed his answer with, “I now understand that work Steve Kunkel

was doing during our engagement Radius for a company I believe is a ski resort called

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    “Def.’s Br.” refers to the Memo. in Supp. of Def. Stephen L. Kunkel’s Mot. to Strike. ECF No. 112.
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Tamarack . . .” Id. at 1517 (Waetzman Dep. Tr. at 88) (emphasis added). This is bolstered by

Waetzman’s testimony that even though he knew Kunkel was doing work for Tamarack back then,

he never knew what Kunkel’s role was at Tamarack. Id. at 1518 (Waetzman Dep. Tr. at 90), 1519

(Waetzman Dep. Tr. at 94).

          Defendant’s motion also wholly omits testimony where Waetzman explicitly states he had

no knowledge of Mr. Kunkel’s board membership:

          Mr. Gurland: You testified Mr. Kunkel told you that he sat on Tamarack’s board,
          correct?
          Mr. Boggs: Objection. Asked and answered several times. And misstates prior
          testimony. You can answer.
          Mr. Waetzman: Mr. Kunkel did not tell me he was sitting on a board.
          Mr. Gurland: You said that you’re aware that Mr. Kunkel sat on a board of
          directors?
          Mr. Boggs: Objection. Again, misstates prior testimony. You can answer it again.
          Mr. Waetzman: I believe I mentioned that I was not aware that he sat on a board
          nor did he ever tell me he sat on a board.
Id. at 1520 (Waetzman Dep. Tr. at 98-99) (emphasis added).

          Furthermore, Gavin also testified that Kunkel never informed G/S that he was on the

Tamarack Board. ECF No. 110-3 at 1441 (Gavin Dep. Tr. at 129:15-22, 130:12-131:7); ECF No.

108, ¶ 10. Paragraph 6 of the Waetzman Declaration is consistent with Waetzman’s deposition

testimony. Defendant’s Motion to Strike paragraph 6 of the Waetzman Declaration should be

denied.

II.       DEFENDANT CANNOT PROVE THAT THE GAVIN DECLARATION MEETS
          THE SHAM AFFIDAVIT DOCTRINE.
          Defendant fails to show that the Gavin Declaration was only submitted to create a material

issue of fact for summary judgment. Defendant seeks to have stricken four paragraphs from

Gavin’s declaration and asserts that “Gavin’s Declaration contains a complete disregard for the

facts by attempting to fabricate a timeline which misleads the Court on five key issues.” Def.’s

Br. at 7. But Defendant only asserts that the text of one paragraph, paragraph 15, contradicts

Gavin’s previous deposition testimony. Defendant’s remaining complaints are with the order in
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which paragraphs 15-18 appear and the “impressions” Defendant asserts it creates. Such a minor

complaint does not rise to the level of contradiction of clear and unambiguous questions the Sham

Affidavit Doctrine seeks to preclude. See Barker v. Quick Test, Inc., No. 13-C-4369, 2016 WL

1019708, at * 5 (March 15, 2016). Because Defendant fails to provide a shred of evidence that

any of the statements are in fact contradictory, he cannot meet his burden to show that “the only

reasonable inference was that the affidavit was a sham designed to thwart the purposes of summary

judgment.” Castro, 786 F.3d at 571.

       A.      The Gavin Declaration Does Not Contain Contradicting Statements.
       The statements in the Gavin Declaration are consistent with his deposition testimony.

Defendant asserts that the Gavin Declaration “falsely states” that, “In late December 2014, G/S

learned of allegations that Kunkel had sexually harassed and spanked young male subordinates at

Soo Tractor.” ECF No. 108, ¶ 15; Def.’s Br. at 7. Defendant asserts this is a “false” statement

because the “allegations” is plural and “Gavin testified that G/S only knew of Mierau’s allegations

at that time, and that he did not know of Peterson’s allegations until after G/S’s termination. . . .

Thus, the order of the paragraphs in the Declaration falsely suggest Kunkel was confronted with

allegations from multiple employees sometime between December 2014 and Soo Tractor’s

termination of G/S in January of 2015 and that Gavin had received Peterson’s video and photos

before G/S was terminated.” Def.’s Br. at 7.

       Nowhere in the Gavin Declaration does it state that he knew of Alex Peterson’s video and

photos before G/S’s termination. ECF No. 108. Defendant seeks to argue issues Plaintiff has not

asserted. However, deposition testimony does show there is a triable fact of whether G/S knew of

multiple allegations before termination. For instance, Mierau testified that he learned that Kunkel

was also spanking Perera in September 2014. ECF No. 110-5 at 1619-20 (Mierau Dep. Tr. at

56:10-57:6). In late December 2014, Mierau contacted Waetzman and gave him the “whole story”

of what Kunkel had been doing that was “kind of kept behind closed doors.” Id. at 1642 (Mierau

Dep. Tr. at 147:5-7, 12-16). Waetzman then relayed all of this information to Gavin around

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December 20, 2014. ECF No. 110-3 at 1431 (Gavin Dep. Tr. at 91:8-11). Also, Mahaney had

spoken to Gavin about Kunkel’s “nonsense with the young boys” before termination. ECF No.

110-3 at 1430 (Gavin Dep. Tr. at 87:7-9). Considering Mierau’s testimony that he knew Perera

was also being spanked when he informed G/S of Kunkel’s actions, and Mahaney’s disclosure of

nonsense with “boys,” Defendant cannot show that “the only reasonable inference” is that Gavin’s

statement regarding allegations “was a sham designed to thwart the purposes of summary

judgment.” Castro, 786 F.3d at 571. At most, Gavin’s declaration is a credibility and weight issue

for the jury, and no portions should be stricken. Flannery, 354 F.3d at 638.

       B.      The Order of the Gavin Declaration Does Not Create False Impressions of
               the Timeline of Events.
       The order of paragraphs 15-18 of the Gavin Declaration does not create false impressions

regarding the timeline of events. First, Defendant argues that paragraphs 15-18 of “Gavin’s

Declaration gives the false impression that Gavin informed Mahaney about multiple employee

allegations against Kunkel on January 28, 2015.” Def.’s Br. at 8. But Defendant does not allege

that the statements in paragraphs 15-18 contradict any previous testimony, just that one possible

“impression” of the order of the paragraphs is misleading. Defendant does not cite to a single case

where the Sham Affidavit Doctrine is used to strike statements because of one inference that can

be drawn based on the order of statements, especially when the statements do not contradict prior

testimony.

       Even if Defendant provided more than attorney argument, it still fails. The Sham Affidavit

Doctrine applies only to previous sworn testimony. Barker, 2016 WL 1019708 at *5. Paragraph

18 references the January 28, 2015 email Gavin sent Mahaney where Gavin mentioned allegations

from an employee (ECF No. 110-13 at 2195), and is not subject to the rule. Even if it did apply,

paragraph 18 does not give the “impression that Gavin informed Mahaney about multiple

employees’ allegations against Kunkel on January 28, 2015” (Def.’s Br. at 8) because the use of

the term “allegations” in paragraph 18 is consistent with the email:


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         In addition, a deeply troubled employee raised allegations directed at Steve and it
         would not be appropriate to have Steve on site. We are investigating these
         allegations and the company’s counsel is looking over our shoulder through this
         process.
Id. (emphasis added). Defendant has not cited any deposition testimony that shows a contradiction

between Gavin’s use of the term “allegations” as used in paragraph 18 and the January 28, 2015

email.

         Second, Defendant asserts that the order of paragraphs 15-18 of the Gavin Declaration

“creates the false impression that Gavin informed Mahaney about more details, including that the

allegations were sexual in nature and involved spanking.” Def.’s Br. at 8. Defendant again takes

his own “impressions” and asserts that Gavin is presenting false evidence. But that is not the text

of the Gavin Deposition. And Defendant in no way demonstrates that the substance of paragraphs

15-18 contradicts any Gavin deposition testimony. Furthermore, paragraph 18 merely recites

when the email4 was sent, and that it informed Mahaney “of the allegations regarding Kunkel.”

ECF No. 108, ¶ 18. Any alleged “impressions” that Defendant asserts it gathered from the Gavin

Declaration should have been argued in its Summary Judgment Reply Brief and is not the basis

for a motion to strike.

         Third, Defendant asserts that “Gavin’s Declaration insinuates that paragraphs 15-18

occurred in chronological order, creating the false impression that prior to January 28, 2015, G/S

received a recording of one of the incidents from Peterson.” Def.’s Br. at 8. The Gavin Declaration

does not state that G/S received Peterson’s video before G/S’s termination (ECF No. 108, ¶¶ 15-

18) and therefore cannot contradict any deposition testimony. Defendant’s asserted “impression”

hardly meets the burden of the Shame Affidavit Doctrine and instead is an issue that could have

been addressed in Defendant’s Summary Judgment Reply.

         Last, Defendant argues that “Gavin’s Declaration misleadingly suggests that he informed

Mahaney of the allegations against Kunkel, including about Peterson and his video, when G/S had


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 Plaintiff submitted the January 28, 2015 email as part of its Opp. to Def.’s Mot. for S. Judgment. ECF No. 110-13
at 2195.
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no such knowledge, prior to Mahaney’s decision to terminate G/S.” Def.’s Br. at 9. As previously

stated, paragraphs 15-17 do not contain any contradictory statements, and paragraph 18’s use of

“allegations” is consistent with the January 28, 2015 email it is referencing. Also, the Gavin

Declaration does not state that Gavin informed Mahaney of Peterson and his video, and

Defendant’s assertion otherwise is misleading.

       Defendant asserts that the “Plaintiff cannot suggest with a straight face that Mahaney did

not terminate G/S until after receiving Gavin’s email on January 28, 2015 informing him about ‘a

deeply disturbed young man.’” Id. Whether Plaintiff sent Mahaney the January 28, 2015 email
before G/S was terminated, which Plaintiff asserts he did, is an improper argument for a motion to

strike, and instead is a factual issue that belongs before the jury. This argument is proof that

Defendant’s true purpose in filing his motion to strike is to argue substantive points and to exclude

relevant information from the jury’s consideration. Defendant’s motion to strike portions of the

Gavin Declaration should be denied.

                                         CONCLUSION
       For the foregoing reasons, Defendant’s Motion to Strike should be denied in its entirety,

and Defendant’s Motion for Summary Judgment should be denied for the reasons set forth in

Plaintiff’s Opposition to Defendant’s Motion for Summary Judgment.




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                                               Respectfully submitted,
 Dated: September 12, 2018
                                               GAVIN/SOLMONESE LLC


                                               By: /s/ Craig T. Boggs




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                               CERTIFICATE OF SERVICE


       I hereby certify that on September 12, 2018, I filed the foregoing using the Court’s ECF

system which caused the same to be served upon the following:



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